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                   IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF TEXAS
                              WACO DIVISION

IRON BIRD, LLC,                  §               No. 6:23-CV-169-DAE
           Plaintiff,            §
                                 §
vs.                              §
                                 §
AUTEL ROBOTICS, LTD.,            §
           Defendant.            §
________________________________ §
                                 §
                                 §


                          FINAL ORDER FOR SERVICE

             The matter before the Court is the status of the case. Plaintiff filed its

Complaint against Defendant on March 7, 2023. (Dkt. # 1.) On June 6, 2023,

Plaintiff filed a Motion for Extension of Time to Perfect Service, requesting an

extension until July 5, 2023. (Dkt. # 6.) The Court granted the extension on June

7, 2023. The docket does not reflect that service has been successfully effectuated,

nor has Plaintiff motioned the Court to indicate good cause for its failure to do so.

             Pursuant to Federal Rule of Civil Procedure 4(m), “[i]f a defendant is

not served within 90 days after the complaint is filed, the court – on motion or on

its own after notice to the plaintiff – must dismiss the action without prejudice

against that defendant or order that service be made within a specified time.” FED.

R. CIV. P. 4(m).
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             Plaintiff is ORDERED to effectuate service on or by August 4,

2023. Failure to do so will result in the dismissal of the case.

             DATED: Waco, Texas, July 10, 2023.




                                       ______________________________________
                                       David Alan Ezra
                                       Senior United States District Judge




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